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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       CASE NO. 22-CR-185 (JDB)
                                             :
YVONNE ST CYR,                               :
                                             :
       Defendant.                            :


                                 NOTICE OF APPEARANCE

       The United States of America, by and through its undersigned counsel, the United States

Attorney for the District of Columbia, hereby informs the Court that Assistant United States

Attorney Eric Boylan is entering his appearance in this matter on behalf of the United States.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                     By:     /s/ Eric W. Boylan
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 14, 2023, I served a copy of this pleading on all

parties to this matter as indicated in the Court’s electronic case files system.


                                               /s/ Eric W. Boylan
                                               ERIC W. BOYLAN
                                               Assistant United States Attorney
